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                   IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF MISSISSIPPI

RE:   Demeka P. Mull                                Case No.      18-14888-JDW


Debtor(s)                                           Chapter:      13


                  RESPONSE TO NOTICE AND MOTION TO DISMISS


       COME(S) NOW the debtor(s) by and through counsel, and file(s) this Response to the
Chapter 13 Trustee’s “Notice and Motion to Dismiss” (Docket entry #46) and in support thereof
would respectfully show unto the Honorable Court the following, to-wit:

       1.     That the Debtor(s) hopes to have payments caught up by the time this matter
              comes to be heard.

       WHEREFORE PREMISES CONSIDERED, Debtor(s) pray that the relief requested
by the Trustee be denied and for such further relief, both general and specific, to which the
Debtor(s) may be entitled.

                                                   Respectfully submitted,


                                                   /s/ Kevin F. O’Brien
                                                   KEVIN F. O’BRIEN, MSB# 10731
                                                   O’Brien Law Firm, LLC
                                                   1890 Goodman Road East, Suite 200
                                                   Southaven, MS. 38671
                                                   (662) 349-3339
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In re: Demeka P. Mull                                       Case No.       18-14888-JDW


Debtor(s)                                                   Chapter        13________________

                                CERTIFICATE OF SERVICE


         The undersigned individual hereby certifies that he, on this 30th, Day of December, 2019
electronically delivered copies of the “Response to Notice and Motion to Dismiss” to all parties
listed at the addresses below:


Miss. US Trustee
USTPRegion05.AB.ECF@usdoj.gov

Locke Barkley
sbeasley@barkley13.com



                                                    /s/ Kevin F. O’Brien
                                                    KEVIN F. O’BRIEN, MSB# 10731
                                                    O’Brien Law Firm, LLC
                                                    1890 Goodman Road East, Suite 200
                                                    Southaven, MS. 38671
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